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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN HOSPITAL ASSOCIATION, et al.,

Plaintiffs,
Civil Action No. l4-cv-00851 (JEB)
v.

ALBX M. AZAR II, in his official capacity as
SECRETARY OF HEALTH
AND HUMAN SERVICES,

Defendant.

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DECLARATION OF NANCY J. GRISWOLI)

I, Nancy J. Griswold, declare as follows:

l. l am the Chief Administrative Law Judge for the Office of Medicare Hearings and
Appeals (OMHA) within the Departrnent of Health and Human Services (HHS or Department),
Which organizationally, is iocated Within the Oftice of the Secretary. l have held this position
since March l, 2010. Arnong my duties, l oversee the third level of administrative review for
individual Medicare claim and entitlement appeals within HHS, Which is also known as the
Administrative Law Judge (ALJ) level of review.

2. The statements made in this declaration are based on my personal knowledge,
information contained in agency files, and information furnished to me in the course of my
official duties.

3. On March 23, 2018, Congress appropriated $182.3 million for OMHA to address
the issue of the Medicare appeals backlog. See Consolidated Appropriations Act, 2018, Pub. L.
No. 115»141, tit. II, 132 Stat. 348, 739 (2018). This represented a 70% increase over the amount

appropriated for Fiscal Year (FY) 2017. With this additional appropriation, OMHA plans to

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increase ALJ staffing by approximately 80 ALJS and fill 600 new positions over the next l4
months, which is projected to increase annual ALJ disposition capacity by 80,000 appeals
When fully staffed, OMHA will have a total of approximately 170 ALJ teams onboard. Once all
new staff members are fully trained, these ALJ teams, combined with attorney adjudicators,
senior attorney on-the~record reviews, the senior ALJ program, and Statistical sampling, will be
able to adjudicate approximately 187,850 appeals armually.
4. As of July 31, 2018, the Settlement Conference Facilitation (SCF) program has
removed a total of more than 72,000 Medicare appeals pending at OMHA. Specitically,
70 agreements have been reached with provider appellants to resolve over 17 ,000 provider
appeals, and three (3) agreements have been reached with State Medicaid agencies to resolve
over 55,000 appeals
5. As of July 31, 2018, there have been 290 SCF requests from providers, with 46 of
those requests still in the SCF process. Of the 244 SCF provider requests that have been fully
processed:
o 70 resulted in a settlement;
¢ 22 did not reach a mutually agreeable settlement with CMS;
0 143 were not eligible for participation; and
¢ 9 were withdrawn by the provider from the SCF process before a conference was

held.

6. Appeals to OMHA generated from the denial of claims through the RAC program
have decreased drastically from FY 2014, both in terms of incoming appeals and appeals

currently pending before OMHA:

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RAC APPEALS FILED AND PENDING AT OMHA

 

 

 

 

 

 

 

 

 

 

 

 

FY2013 FY2014 FY2015 FY2016 FY2017 FY2018*
l 10/1/12- 10/1/13- 10/1/14- 10/1/15- 10/1/16- 10/1/17-
»FiscalYear 09/30/13 09/30/14 09/30/15 09/30/16 09/30/17 06/30/18
Ne“’RACTRel“t°d 193,105 273,407 31,624 15,761 13,782 661
Appeals Filed
?Percentage of RAC-
§§’c-:ti;‘:$i;?:tlal of 50.3% 53.8% 14.1% 9.5% 12.2% 1.4%
OMHA Receipts
Total RAC-Refated
AppealsPending at 190,117 345,229 437,524 154,592 82,329 56,311
OIV[HA (end of FY)
Percentage of RAC-
§::::°:$;§;“§e:;ing 50.4% 52.4% 57.7% 23.5% 14.2% 12.6%
fat OMHA

 

* FY 2018 data provided through Q3 only.

7. As of July 27, 2018, the number of pending appeals at OMHA is 444,894.

l declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Exeeuted on August 3, 2018 in Arlington, Virginia

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